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                                EXHIBIT COVER SHEET



                                                                             Exhibit

Party Submitting:    Mary Ida Townson, U.S. Trustee for Region 21


Admitted:            YES        or NO        (circle one)                      194


Chapter 11 Debtor:   Genie Investments NV, Inc.


Case No.             3:24−bk−00496−BAJ


Nature of Hearing:   Trial on

                     U.S. Trustee’s Motion to Appoint Chapter 11
                     Trustee, or, in the Alternative, Appoint
                     Examiner, Dismiss Case, or Convert Case to
                     Chapter 7 (Doc. No. 20)

                     Debtor’s Response Thereto (Doc. No. 34)

                     U.S. Trustee’s Reply (Doc. No. 38)

Trial Date:          April 9, 2024, at 9:00 a.m.




                           United States Bankruptcy Court
                              Middle District of Florida

                     Dated: ___________________________, 2024.


                     By: _______________________, Deputy Clerk
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Genie’s message:

 Walt,                                                                                                      3/22/2023

 Regarding USER ID 2816, Genie received documents for a different business, please resend. Thank you.



McMann’s responses to previous message:

 USER ID 2816 (North Haven)                                  3/22/2023   USER ID 2816 Term sheet and
                                                                         documents.zip
 File with documents for North Haven (USER ID 2816)
 attached

 USER ID 2815 (Wallingford)                                  3/22/2023   USER ID 2815 IDs and bank
                                                                         references 1.zip
 Documents in file attached



Messages from Genie re receipt of ICA deposits:

 Walt,                                                                                                                       5/4/2023

 Genie received two payments of $1,800,000 from User IDs 2815 and 2816. This does match the numbers Genie has on
 file. Please upload their agreements and advise at your earliest convenience. Thank you.

 Walt,                                                                                                                       5/5/2023

 Genie received two payments of $1,800,000 from User IDs 2815 and 2816. This does match the numbers Genie has on
 file. Please upload their agreements and advise at your earliest convenience. Thank you.



Submission of signed loan agreements and requested documentation to Genie:

 USER ID 2816 (North Haven Lodging) submission for funding                        5/7/2023    USER ID 2816 Funding submission.zip

 USER ID 2815 (Wallingford Lodging) submission for funding                        5/7/2023    USER ID 2815 Funding submission.zip
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Loan cancellation message to Genie:

 USER ID 2815 (Wallingford Lodging LLC) and USER ID 2816 (North Haven Lodging) are cancelling their loans and are requesting               8/18/2023
 their ICA be returned.

 The termination link has been emailed to both for them to submit their requests.

 Regards.



Message to Genie requesting an update on the ICA refund:

 USER IDs 2815 and 2816 submitted their termination letter August 19, 2023. Kindly provide an update on their refund dates.                9/14/2023

 Regards



Genie’s response:

 Walt,                                                                                                                               9/14/2023

 Regarding 2815 and 2816, the expected refund date is 10/13/2023.




Messages sent to Genie for confirmation of the ICA refunds:

 About loan #'s 2815 & 2816 return of the ICA deposits have been confirmed by Genie to be wired tomrrow please confirm        10/12/2023
 that this commitment is still on target for funds to be wired tomorrow.. Walt

 USER ID 2815 and 2816 have requested updates on their refunds                                                                10/12/2023
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Genie’s response:

 Walt,                                                                                                                        10/13/2023

 Regarding User ID 2629, 2815 and 2816, please make sure that they have access to their account, so that Genie can
 communicate with them directly. A message has been sent to them already. Thanks.



The following are direct messages between Genie and the client:



 Wallingford Lodging Partners LLC,                                               10/13/2023   Borrower letter re ICA   Mark
                                                                                              refund - Oct. 2023       as
 Please see attached letter from Genie's attorney. Genie is working                           Walker Law -             read
 diligently to get your refund to you as quickly as possible and will be in                   Wallingford
 touch with you by the end of next week. If you have any questions, all                       Lodging.pdf
 communications must be here in writing, so please do not hesitate to
 ask if you do. In the meantime, Genie would like to set up a conference
 call with you to make sure you fully understand this letter provided to
 you. Please provide 3 times for Tuesday and Wednesday of next week
 to discuss this matter. Genie appreciates your understanding.

 Hey David,                                                                                              10/16/2023

 We are available for a call:
 Tuesday 10/17:
 9am CST
 10am CST
 11am CST
 1pm (preferred) CST
 or 2pm CST
 for both North Haven and Wallingford projects to be discussed. Please confirm what time
 works for you at your earliest convenience.
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North Haven Lodging Partners LLC,                                       10/13/2023   Borrower letter re ICA
                                                                                     refund - Oct. 2023
Please see attached letter from Genie's attorney. Genie is                           Walker Law - North
working diligently to get your refund to you as quickly as possible                  Haven Lodging.pdf
and will be in touch with you by the end of next week. If you have
any questions, all communications must be here in writing, so
please do not hesitate to ask if you do. In the meantime, Genie
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Genie appreciates your understanding in this matter.

Hey David,                                                                                            10/16/2023

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Tuesday 10/17:
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                                         WALKER LAW OFFICE, LLC
                                                     4050 PENNSYLVANIA AVE., SUITE 115-10
                                                             KANSAS CITY, MISSOURI 64111
                                                                            (816) 226-6476



October 13, 2023

       Re:     Genie Investments – Update on Funding Delays

Dear Wallingford Lodging Partners LLC,

     This letter concerns the 8/19/2023 termination of your Letter of Credit Agreement
(LOCA) with Genie Investments and your request for a refund of the $1,800,000 ICA payment.

        As you know from previous communications, Genie Investments has been working to
address the ongoing failure of its capital provider to comply with its contractual obligations to
provide funds to Genie. It is important to recognize that, under section 13.7 of the LOCA, the
present situation constitutes a so-called “force majeure” event – i.e., a situation in which events
beyond Genie’s control prevent it from providing advances to borrowers. The LOCA’s force
majeure provision, section 13.7, specifically includes a failure by Genie’s capital provider –
referred to in the LOCA as its “wholesale lender” – to perform its obligations to Genie. As such,
the delays you have experienced do not constitute a breach of contract by Genie and the “Refund
Period” set forth in the LOCA (forty international business-banking days) does not apply while
the force majeure event is ongoing.

        Instead, the LOCA requires Genie to use “reasonably diligent efforts to end the failure or
delay and ensure the effects of such Force Majeure Event are minimized,” and Genie is currently
doing so. This law firm, which Genie recently engaged to help resolve the situation, is working
on multiple fronts to compel the capital provider to deliver the funds it owes, so that Genie can,
in turn, provide refunds to its borrowers. We are preparing a legal action against the capital
provider and its associates, which we will file at our earliest opportunity unless we reach a
satisfactory settlement first. In hopes of refunding money to you as soon as possible, we will
simultaneously pursue legal action and engage in settlement negotiations.

        Genie will make every reasonable effort to keep you informed of the progress of its
efforts during this process. In addition, you can expect further correspondence from this law firm
with updates regarding settlement negotiations or the status of any legal action filed against the
capital provider. While Genie’s efforts are underway, you must direct any inquiries to Genie
through the Zoomeral messaging system.

        Genie understands that you want this situation resolved as quickly as possible, which is
why it is taking the steps laid out above. Please understand, however, that legal actions of this
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magnitude require significant time and resources, and we ask your continued patience throughout
the process.

        Further, we ask you to be mindful of other provisions of the LOCA. For example, Section
14.3 requires you to keep the terms of the LOCA confidential and section 14.5 prohibits
disparagement of Genie or of persons or entities affiliated with it. Both provisions are deeply
important to Genie. Please understand that violating either section would constitute a breach of
the agreement and could impair or prevent your participation in the remedies Genie is pursuing.
Moreover, failing to comply with these provisions could adversely affect Genie’s efforts to
obtain the recovery that would then flow to borrowers to whom refunds are due.

        In short, we are working diligently to enable Genie to fulfill its obligations to its
borrowers. Although we never expected to have to confront this situation, we intend to emerge
better for it. In the meantime, we appreciate your patience as we continue our efforts.


                                            Sincerely,


                                            Adam Walker
                                            Walker Law Office, LLC
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                                       WALKER LAW OFFICE, LLC
                                                     4050 PENNSYLVANIA AVE., SUITE 115-10
                                                             KANSAS CITY, MISSOURI 64111
                                                                            (816) 226-6476



October 13, 2023

       Re:     Genie Investments – Update on Funding Delays

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        Genie will make every reasonable effort to keep you informed of the progress of its
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                                            Sincerely,


                                            Adam Walker
                                            Walker Law Office, LLC
